
644 S.E.2d 563 (2007)
STATE of North Carolina
v.
Bobby Ray WOODARD, Jr.
No. 239P06.
Supreme Court of North Carolina.
March 8, 2007.
Kathryn L. VandenBerg, Raleigh, for Bobby Ray Woodard, Jr.
Francis W. Crawley, Special Deputy Attorney General, Roxann Vaneekhoven, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 5th day of May 2006 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of March 2007."
